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                     EXHIBIT D
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                                                       Exhibit D

            Infringement of U.S. Patent No. 7,130,576 by DISH Accused Satellite Television Services

#   U.S. Patent No. 7,130,576       DISH Accused Satellite Television Services
14a 14.      A     method      of   The Accused Satellite Television Services perform the claimed method utilizing, for
    communicating a plurality of    example, Signal Selector and Combiner (“SSC”) devices, which include which include
    transponder signals from a      SSC-enabled LNBs (for example, DISH Pro Hybrid (“DPH”) LNBFs) and switches (for
    satellite outdoor unit (ODU)    example, DPH42). By way of example, the DPH42 is charted herein.
    that receives a plurality of
    satellite broadband signals     A plurality of transponder signals are communicated from a satellite outdoor unit
    to an integrated receiver       (ODU) that receives a plurality of satellite broadband signals to an integrated receiver
    decoder (IRD) over a single     decoder (IRD) over a single cable connected to the ODU as described below:
    cable connected to the
    ODU,         the      method    The DPH42 communicates transponder signals from one or more LNBFs (such as
    comprising the steps of:        the DP/DPP LNBF or DP LNBF) to an IRD (e.g. a Hopper, Wally, or ViP Receiver)
                                    over a single cable.




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                                In a variety of installations, the DPH42 has two single cable outputs, each of which is
                                provided to a different receiver network. For example, a first single cable can be
                                provided to a Hopper receiver network (shown in purple) and a second single cable
                                can be provided to a Wally receiver network (shown in blue).




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                                Each of the ODUs receives a plurality of satellite broadband signals (highlighted in
                                blue).




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#    U.S. Patent No. 7,130,576   DISH Accused Satellite Television Services




14b communicating            a The ODU communicates a transponder request signal to the ODU from the IRD as
    transponder request signal described below:
    to the ODU from the IRD;
                               The DPH42 includes a Broadcom BCM4552 SoC.




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14c in the ODU, digitizing the     The ODU digitizes the plurality of satellite broadband signals, selects and extracts a
    plurality   of     satellite   plurality of transponder signals from the received digitized satellite broadband
    broadband          signals,    signals, wherein the selecting is responsive to the transponder request signals as
    selecting and extracting a     described below:
    plurality of transponder
    signals from the received


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#   U.S. Patent No. 7,130,576 DISH Accused Satellite Television Services
    digitized satellite broadband
    signals,     wherein       the
    selecting is responsive to
    the transponder request
    signals;




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14d combining        extracted The ODU combines extracted selected transponder signals into a composite signal
    selected      transponder as described below:
    signals into a composite
    signal;


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14e transmitting the composite The ODU transmits the composite signal over the single cable from the ODU to the
    signal over the single cable IRDs, wherein the modulation of the transponder signal is not altered by the steps of
    from the ODU to the IRDs, selecting, combining, and transmitting as described below:
    wherein the modulation of
    the transponder signal is not
    altered by the steps of
    selecting, combining, and
    transmitting.




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#   U.S. Patent No. 7,130,576   DISH Accused Satellite Television Services




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                                                         Exhibit D

#    U.S. Patent No. 7,130,576        DISH Accused Satellite Television Services




15   15. The method of claim 14       Upon information and belief, the step of selecting and extracting a transponder signal
     wherein the step of selecting    comprises the step of: filtering a transponder signal with a band pass filter having a
     and          extracting     a    bandwidth ranging from 5% to 100% wider than the bandwidth of the transponder
     transponder             signal   signal as described below:
     comprises the step of:
     filtering a transponder signal
     with a band pass filter
     having a bandwidth ranging
     from 5% to 100% wider than
     the bandwidth of the
     transponder signal.




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#    U.S. Patent No. 7,130,576    DISH Accused Satellite Television Services
16   16. The method of claim 14   Upon information and belief, the step of combining comprises frequency translating
     wherein    the   step   of   the selected and extracted transponder channels to a variable frequency before
     combining        comprises   combining as described below:
     frequency translating the
     selected and extracted
     transponder channels to a
     variable frequency before
     combining.




17   17. The method of claim 15 Upon information and belief, the ODU frequency translates the selected transponder
     further          comprising channels to a predetermined frequency before combining as described below:
     frequency translating the
     selected       transponder
     channels        to        a
     predetermined     frequency
     before combining.




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#    U.S. Patent No. 7,130,576        DISH Accused Satellite Television Services
18   18. The method of claim 14       The ODU splits the composite signal inside a home and distributes to a plurality of
     further comprising the step      IRDs as described below:
     of splitting the composite
     signal inside a home and         The DPH42 communicates transponder signals from one or more LNBFs (such as
     distributing to a plurality of   the DP/DPP LNBF or DP LNBF) to an IRD (e.g. a Wally or ViP Receiver) over a single
     IRDs.                            cable.




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19   19. The method of claim 14 The transponder request signal is transmitted over the cable from an IRD and all
     wherein the transponder IRDs receive the same composite signal as described below:
     request signal is transmitted
     over the cable from an IRD



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#    U.S. Patent No. 7,130,576 DISH Accused Satellite Television Services
     and all IRDs receive the
     same composite signal.




21a 21. The method of claim See claim 14 analysis.
    14 further comprising the
    steps of:




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21b frequency translating the See claim 16 analysis.
    selected         transponder
    channels to a variable
    frequency              before
    combining; and
21c splitting   the    composite See claim 18 analysis.
    signal inside a home and
    distributing to a plurality of
    IRDs.

22   22. The method of claim 21 The transponder request signal is transmitted over the cable from an IRD as
     wherein the transponder described below:
     request signal is transmitted
     over the cable from an IRD. The DPH42 communicates transponder signals from one or more LNBFs (such as
                                   the DP/DPP LNBF or DP LNBF) to an IRD (e.g. a Wally or ViP Receiver) over a single
                                   cable.




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                                Each of the ODUs receives a plurality of satellite broadband signals (highlighted in
                                blue).




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34   34. The method of claim 14, Upon information and belief, the selecting and extracting comprises applying a pass
     wherein      selecting   and band filter transfer function to the digitized broadband signal as described below:
     extracting         comprises
     applying a pass band filter
     transfer function to the
     digitized broadband signal.




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36   36. The method of claim 14, The ODU performs the combining in the digital domain as described below:
     wherein the combining is
     performed in the digital
     domain.




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#    U.S. Patent No. 7,130,576     DISH Accused Satellite Television Services




37   37. The method of claim 17, Upon information and belief, the frequency translating comprises using a digital mixer
     wherein           frequency to apply a rotating phasor to the data samples to translate their frequency as
     translating comprises using described below:
     a digital mixer to apply a
     rotating phasor to the data
     samples to translate their
     frequency.




38   38. The method of claim 14, The ODU frequency translates the digitized broadband signal prior to selecting and
     further         comprising extracting transponder signal as described below:
     frequency translating the
     digitized broadband signal


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#    U.S. Patent No. 7,130,576 DISH Accused Satellite Television Services
     prior to selecting and
     extracting     transponder
     signal.




39   39. The method of claim 38, The frequency translating comprises translating the original digitized broadband
     wherein           frequency signal to locate a selected transponder channel at baseband as described below:
     translating       comprises
     translating   the    original
     digitized broadband signal
     to     locate  a    selected
     transponder channel at
     baseband.




40   40. The method of claim 14, Upon information and belief, the ODU maintains a channel translation table at the
     further         comprising outdoor unit, the channel translation table specifying assigned frequency slots for
     maintaining   a    channel transponder channels in the composite signal.
     translation table at the



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                                                     Exhibit D

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     outdoor unit, the channel
     translation table specifying
     assigned frequency slots for
     transponder channels in the
     composite signal.

41   41. The method of claim 38, Upon information and belief, the ODU provides the channel translation table to the
     further comprising providing IRD to allow the IRD to tune to a desired selected translated transponder channel as
     the channel translation table described below:
     to the IRD to allow the IRD
     to tune to a desired selected
     translated       transponder
     channel.




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#    U.S. Patent No. 7,130,576        DISH Accused Satellite Television Services
42   42. The method of claim 14,      Upon information and belief, the selecting and extracting comprises low-pass filtering
     wherein      selecting    and    the translated digitized broadband signal thereby substantially removing signal
     extracting comprises low-        information from non-selected transponder channels as described below:
     pass filtering the translated
     digitized broadband signal
     thereby          substantially
     removing signal information
     from            non-selected
     transponder channels.




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